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                             EXHIBIT C
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     Gerrit M. Pronske                                       James Sheehan
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     Eric M. Van Horn                                        Emily Stern
     State Bar No. 24051465                                  Pro Hac Vice
     Jason P. Kathman                                        Monica Connell
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     Email: jkathman@spencerfane.com                         COUNSEL FOR THE PEOPLE OF
                                                             THE STATE OF NEW YORK, BY
     COUNSEL FOR THE PEOPLE OF                               LETITIA JAMES, ATTORNEY GENERAL
     THE STATE OF NEW YORK, BY                               OF THE STATE OF NEW YORK
     LETITIA JAMES, ATTORNEY GENERAL
     OF THE STATE OF NEW YORK

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 In re:                                                  §
                                                         §     Case No. 21-30085-hdh-11
 NATIONAL RIFLE ASSOCIATION                              §
 OF AMERICA and SEA GIRT LLC,                            §     Chapter 11
                                                         §
           Debtors.1                                     §     Jointly Administered

                         NOTICE OF INTENTION TO TAKE ORAL
                    DEPOSITION OF THE HONORABLE PHILLIP JOURNEY

 To:       The Honorable Phillip Journey, by and through counsel, M. Jermain Watson, 420
           Throckmorton Street, Suite 1000, Fort Worth, Texas 76102.

           PLEASE TAKE NOTICE that pursuant to Federal Rules of Civil Procedure 26 and 30,

 and Federal Rules of Bankruptcy Procedure 7026 and 7030, The State of New York, By Letitia



 1
  The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
 Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.

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 James, Attorney General of the State of New York (“NYAG”), by and through its attorneys, will

 take the oral deposition, of the Honorable Phillip Journey (“Deponent”), for the purposes of

 discovering matters relevant to the NYAG’s Motion to Dismiss, or, in the Alternative, to Appoint

 a Chapter 11 Trustee and the NYAG’s Brief in Support (collectively, the “NYAG Dismissal

 Motion”); Ackerman McQueen Inc.’s Motion to Dismiss the Chapter 11 Bankruptcy Petition, or,

 in the Alternative, Motion for Appoint of Chapter 11 Trustee, and Brief in Support (the “AMc

 Dismissal Motion”); and Deponent’s Motion for Appointment of Examiner (the “Examiner

 Motion”). The deposition shall begin on March 11, 2021 at 3:00 p.m. (CST).

        PLEASE TAKE FURTHER NOTICE that the above and foregoing deposition will (a)

 take place before a notary public; (b) be recorded by stenographic tape recording device and/or

 videotaped; and (c) be continued only upon agreement of all counsel and/or parties present.

        PLEASE TAKE FURTHER NOTICE that the deposition will taken remotely via an

 online platform due to the coronavirus pandemic such that no one will need to be in the same

 location as anyone else in order to participate in the deposition by use of Zoom, Webex or other

 video conferencing software. Parties who wish to attend the deposition should contact Eric M. Van

 Horn, Spencer Fane LLP, at ericvanhorn@spencerfane.com no fewer than 2 hours before the

 start of the deposition for more information regarding participation in this deposition remotely.

                                    --- intentionally omitted ---




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 Dated: March 10, 2021.                   Respectfully submitted,

                                         /s/ Eric M. Van Horn
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                                         Eric M. Van Horn
                                         State Bar No. 24051465
                                         Jason P. Kathman
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                                         – And –

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                                         COUNSEL FOR THE PEOPLE OF
                                         THE STATE OF NEW YORK, BY
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 NOTICE OF INTENTION TO TAKE ORAL DEPOSITION OF THE HONORABLE PHILLIP JOURNEY -
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